          Case 2:23-cv-00308-WSH Document 5 Filed 03/02/23 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

JOANNE MARIE ROMAN, Pro Se Litigant,              )
CARMIELO ROMAN TORRES, spouse,                    )
JMR, dependent daughter, JG, dependent son,       )
                                                  )
                              Plaintiff,          )
                                                  )
               v.                                 )   No. 2:23-cv-0308-WSH
                                                  )
M&T BANK, KML LAW GROUP, P.C.,                    )
J. ERIC KISHBAUGH, Attorney for                   )
M&T BANK,                                         )
                                                  )
                              Defendants.         )

                                             NOTICE

       The instant civil action has been designated for placement into the United States District
Court for the Western District of Pennsylvania’s Alternative Dispute Resolution (ADR) program.

        The parties are directed to fully complete the required Rule 26(f) report, which includes
the stipulation of selecting an ADR process.

       For further information, parties should refer to LCvR 16.2 and the Court’s ADR Policies
and Procedures, which can be accessed at the Court’s website at www.pawd.uscourts.gov

       Counsel for plaintiff (or in the case of a removal action, counsel for removing defendant)
shall make service of this notice on all parties.

        The attorneys of record and all unrepresented parties that appear in this case are reminded
that they are jointly responsible for submitting to the Court the following documents prior to the
Initial Case Management Conference, in addition to any additional requirements of the assigned
Judge:

       (a)     a written report required by Fed. R. Civ. P. 26(f), in the format set forth in Appendix
               to LCvR 16.1.1A; and

       (b)     a Stipulation of selecting an ADR process (pursuant to Revised LCvR 16.2).
